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VIRGINIA
    IN THE FEDERAL DISTRICT COURT FOR THE WESTERN DISTRICT OF
                              VIRGINIA
                        (Charlottesville Division)


STUART FITZGERALD
1321 Wilson Road
Waldorf, Maryland 20602
                                                                      3:17CV00049
                                                             Case No._________________
               Plaintiff

v.

CARL STORY
6106 Bills Road
Mineral Springs, VA 23117

            Defendant
______________________________________________/

                                          COMPLAINT

        Plaintiff Stuart Fitzgerald, by and through counsel, files this Complaint against Defendant

Officer Carl Story for injuries both physical and mental that he suffered at the hands of Officer

Story and states as follows:

                                JURISDICTION AND VENUE

        This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1332 AND 1334(A)(3)-(4)

and 42 U.S.C. § 1983. The amount in controversy exceeds $75,000.00. Venue is proper because

the actions complained of occurred in Virginia, and the defendant is a resident of Virginia.

                                       INTRODUCTION

        This action seeks compensatory and punitive damages against Defendant Story for

actions that violated Plaintiff Fitzgerald’s constitutional rights under the Fourth Amendment to

be free of unreasonable search and seizure, and also violated Plaintiff Fitzgerald’s rights under


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state law. As a result, Plaintiff Fitzgerald suffered severe and permanent injury and suffers from

physical and psychological pain.

                                             PARTIES

       1.      At all relevant times herein, Plaintiff Stuart Fitzgerald was a resident of the State

of Maryland.

       2.      At all times relevant herein, Defendant Carl Story was a member of the Orange

County Sheriff’s Department and was acting within the scope of his employment under color of

state law.

                                              FACTS

       3.      In the early hours of May 26, 2014, Orange county police office Carl Story,

initiated a motor vehicle stop while on patrol.

       4.      The alleged purpose of the stop was failure to dim headlights.

       5.      Mr. Fitzgerald stopped at the direction of Officer Story and pulled over to the

right of highway.

       6.      Officer Story then exited his vehicle and approached Mr. Fitzgerald’s vehicle.

       7.      Officer Story learned that Mr. Fitzgerald’s license was suspended and refused to

look at a letter from DMV giving him permission to drive while license problems were being

worked out.

       8.      Officer Story then opened Mr. Fitzgerald’s drivers’ side door, grabbed Mr.

Fitzgerald, and pulled him out of the car.

       9.      Mr. Fitzgerald peacefully and voluntarily exited the vehicle and stood upright

with Officer Story’s hand on Mr. Fitzgerald’s upper left arm.




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         10.    Officer Story, then accompanied by a second officer handcuffed Mr. Fitzgerald as

Mr. Fitzgerald stood against his car.

         11.    Notwithstanding the fact that Mr. Fitzgerald was not resisting being handcuffed

and was actually handcuffed, Officer Story banged Mr. Fitzgerald’s head against the hood of his

cruiser, wrapped his arm around Mr. Fitzgerald, placing him in a choke-hold, and whipped his

body to the cement pavement face-first.

         12.    With plaintiff Fitzgerald on the ground and Officer Story on top of him, knee-in-

back, yelled into a police radio, “stop resisting.”

         13.    Plaintiff Fitzgerald was then transported to Culpeper Regional Hospital

         14.    At Culpeper Regional Hospital, plaintiff Fitzgerald was treated for facial

abrasions and injuries, right-sided neck pain, knee pain, shoulder pain, and back pain.

15.      Plaintiff Fitzgerald was charged with assault and battery on a law enforcement officer,

destruction of property, obstruction of justice, and driving with no operator’s license.

         16.    A warrant of arrest was issued for plaintiff Fitzgerald’s felony arrest at 05:53 AM

on May 26, 2014; two misdemeanor warrants were issued at 05:55AM; and one (1) summons

was issued at 05:58AM.

         17.    All five charges listen in paragraph 15 were dismissed on July 31, 2015 by a

Motion for entry of a Nolle Prosequi signed by the Deputy Commonwealth Attorney in Orange,

Virginia.

         18.    Plaintiff Fitzgerald was held for thirty (30) days before he was given a bond

hearing.

         19.    As a result of Story’s cruel and unwarranted actions in placing plaintiff Fitzgerald

in a chock-hold and subsequently throwing his body to the cement pavement, Fitzgerald suffered


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facial abrasions, right-sided neck pain, knee pain, shoulder pain, back pain, a chipped front tooth

and severe emotional distress including depression, post- traumatic stress disorder, sleeplessness,

and a deep sense of shame of being unable to support his family because of loss his job resulting

from his arrest.

       20.     Story’s intentional actions resulting in excessive force and injury to plaintiff

Fitzgerald are objectively unreasonable and constituted cruel and indifferent behavior toward

Fitzgerald, and was shocking to the conscience, and done with intent to injure.

       21.     Story knew or should have known that his conduct was clearly in violation of

established law regarding the unnecessary use of force against unarmed and non-resistant

arrestees and in violation of his own department’s procedures regarding the force continuum

appropriate for the apprehension of unresisting and unarmed arrestees who are on the ground and

arrested for minor offenses such as failure to dim headlights.

                                          COUNT I
                    (Violation of the Fourth Amendment-42 U.S.C. 1983)

       22.     The allegations set forth in paragraphs 1-21 of the Complaint are re-alleged and

incorporated by reference herein.

       23.     The cruel and wanton attack on Fitzgerald by Story was a violation of Fitzgerald’s

Fourth Amendment right to be free of illegal and unreasonable seizure, and was done with

reckless disregard for the law and Mr. Fitgerald’s safety, and was shocking to the conscience.

As such, Story is liable to Plaintiff Fitzgerald for compensatory damages in the amount of

$2,200.000 and punitive damages in the amount of $2,000,000.00.




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                                            COUNT II
                                      (Malicious Prosecution)


24.      The allegations contained in paragraphs 1-23 of the Complaint are re-alleged and

incorporated by reference herein.

25.      Defendant Story placed serious criminal charges against Plaintiff knowing them all to be

false and knowing that Fitzgerald would be deprived of his freedom for an undetermined period

of time.

26.      Story’s actions in placing false charges against Fitzgerald was shocking to the conscience

and outrageous and he is therefore liable to Fitzgerald for compensatory damages in the amount

of $2.200,000 and punitive damages in the amount of $2,200,000.

         WHEREFORE: Plaintiff seeks compensatory damages in the amount of $2,200,000 and

such punitive damages in the amount of $2,200,000.

                                     JURY TRIAL DEMAND

         Plaintiff demands trial by jury on all issues set forth in the Complaint.

                                                       Stuart Fitzgerald

By:

____________________________
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